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   1    John P. Kristensen (SBN 224132)
   2    Jesenia A. Martinez (SBN 316969)
        CARPENTER & ZUCKERMAN
   3    8827 W. Olympic Boulevard
   4    Beverly Hills, California 90211
        Telephone: 310-273-1230
   5    Facsimile: 310-858-1063
   6    kristensen@cz.law
        jmartinez@cz.law
   7
   8    Jarrett L. Ellzey (Pro Hac Vice)
        Leigh S. Montgomery (Pro Hac Vice)
   9    Ghazzaleh Rezazadeh (Pro Hac Vice)
  10    ELLZEY & ASSOCIATES, PLLC
        1105 Milford Street
  11    Houston, Texas 77006
  12    jarrett@ellzeylaw.com
        leigh@ellzeylaw.com
  13    ghazzaleh@ellzeylaw.com
  14
        Attorneys for Plaintiffs
  15
  16               THE UNITED STATES DISTRICT COURT
  17        CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION

  18    REBECCA ANSPACH, et al.,              )   Case No.: 5:19-cv-02184-JGB-SP
                                              )
  19
                            Plaintiff,        )   COLLECTIVE ACTION
  20            vs.                           )
                                              )   PLAINTIFFS’ NOTICE OF
  21
        68-444 PEREZ, INC. dba                )   MOTION AND MOTION FOR
  22    SHOWGIRLS, a California               )   APPROVAL OF FLSA
        Corporation; ABDUL WAHAB              )   SETTLEMENT
  23
        SHAWKAT, an individual; SAHAR         )
  24    SHAWKAT, an individual; DOE           )   Hearing:
        MANAGERS 1-3; and DOES 4-10,          )   Date: March 14, 2022
  25
        inclusive,                            )   Time: 9:00 a.m.
  26                                          )   Crtrm: 1
                            Defendants.       )
  27
                                              )
  28
          PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR APPROVAL OF FLSA SETTLEMENT
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   1         TO THIS HONORABLE COURT AND ALL PARTIES AND
   2   THEIR ATTORNEYS OF RECORD:
   3         PLEASE TAKE NOTICE that on Monday, March 14, 2022 at 9:00 a.m.
   4   in Courtroom 1 of the United States District Court for the Central District of
   5   California, located at 3470 Twelfth Street, Riverside, California 92501 that
   6   plaintiffs Rebecca Anspach, Antonia Crane, Marissa Duran, Akilah Hammond,
   7   Kimberly Ann Hoyer, Mandy Johnson, Alexandra Mantikas, Shanon Nuckols,
   8   Vanessa Ruiz, Andjela Suka, Neli Velazquez, Marlene Silva, Mikayla Bellamy,
   9   and Chellsee Lloyd (collectively, “Plaintiffs”), by and through undersigned
  10   counsel, hereby request approval of the settlement agreements (the
  11   “Agreements”) reached between Plaintiffs and defendants 68-444 Perez, Inc.
  12   dba Showgirls, Abdul Wahab Shawkat, and Sahar Shawkat (collectively,
  13   “Defendants”) (Plaintiffs and Defendants will be referred to collectively as the
  14   “Parties”).
  15         The Agreements are attached as exhibits to the Declaration of John P.
  16   Kristensen filed concurrently with this Motion. See Declaration of John P.
  17   Kristensen ¶ 26, Exhibits (“Exs.”) 1-15. Plaintiffs submit that the Court should
  18   approve the Settlement for the reasons described in the Memorandum of Points
  19   and Authorities. This Motion is made following the conference of counsel
  20   pursuant to L.R. 7-3 which took place prior to filing this motion.
  21    Dated: February 14, 2022       Respectfully submitted,
  22
                                 By: /s/ John P. Kristensen
  23                                 John P. Kristensen (SBN 224132)
  24                                 kristensen@cz.law
                                     Jesenia A. Martinez (SBN 316969)
  25                                 jmartinez@cz.law
  26                                 CARPENTER & ZUCKERMAN
  27                                 Attorneys for Plaintiffs

  28
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2   I.      INTRODUCTION AND PROCEDURAL HISTORY
   3           Plaintiffs Rebecca Anspach (“Anspach”), Antonia Crane (“Crane”),
   4   Marissa Duran (“Duran”), Akilah Hammond (“Hammond”), Kimberly Ann
   5   Hoyer (“Hoyer”), Mandy Johnson (“Johnson”), Alexandra Mantikas
   6   (“Mantikas”), Shanon Nuckols (“Nuckols”), Vanessa Ruiz (“Ruiz”), Andjela
   7   Suka (“Suka”), Neli Velazquez (“Velazquez”), Marlene Silva (“Silva”), Mikayla
   8   Bellamy (“Bellamy”), and Chellsee Lloyd (“Lloyd”) (collectively, “Plaintiffs”)
   9   worked as exotic dancers at defendants 68-444 Perez, Inc. dba Showgirls, Abdul
  10   Wahab Shawkat, and Sahar Shawkat’s club, Showgirls.
  11           Plaintiff Katrina Harris1 the Complaint on November 13, 2019 as a
  12   collective action with the following causes of action: (1) Failure to Pay Minimum
  13   Wage, 29 U.S.C. § 206; (2) Failure to Pay Overtime Wages, 29 U.S.C § 207; (3)
  14   Unlawful Taking of Tips, 29 U.S.C. § 203; and (4) Conversion, Cal. Civ. Code §
  15   3336.2 The causes of action were based on the misclassification of putative
  16   collective members as independent contractors.
  17           On April 23, 2020, the Court issued an order conditionally certifying this
  18   collective action and ordering notice be provided to putative collective members.
  19   Dkt. 41.
  20           Prior to the issuance of notice, and afterwards, multiple plaintiffs filed their
  21   consent to join. The current plaintiffs filed their consents to join on the following
  22   dates: Mantikas (January 16, 2020 – Dkt. 16); Suka (January 22, 2020 – Dkt. 21);
  23   Crane (February 25, 2020 – Dkt. 27); Duran (February 27, 2020 – Dkt. 28);
  24   Nuckols (March 3, 2020 – Dkt. 30); Johnson (June 17, 2020 – Dkt. 49); Hoyer
  25
       1
  26        Plaintiff Katrina Harris accepted an Offer of Judgment on September 17, 2021.
            Dkt. 103. Judgment was entered in Ms. Harris’ favor on December 13, 2021.
  27        Dkt. 124.
  28
       2
            Ms. Harris’ Fourh Cause of Action for Conversion was asserted only by
            Ms.Harris individually, not on behalf of the collective.
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   1    (July 20, 2020 – Dkt. 55); Hammond (August 6, 2020 – Dkt. 57); Ruiz (August
   2    6, 2020 – Dkt. 57); Velazquez (August 6, 2020 – Dkt. 57); Anspach (August 6,
   3    2020 – Dkt. 57).
   4           On March 4, 2021, Silva, Bellamy, and Lloyd filed their Complaint against
   5    Defendants asserting the following causes of action: (1) Failure to Pay Minimum
   6    Wage, 29 U.S.C. § 206; (2) Failure to Pay Overtime Wages, 29 U.S.C § 207; (3)
   7    Unlawful Taking of Tips, 29 U.S.C. § 203; (4) Illegal Kickbacks, 29 C.F.R. §
   8    531.35; (5) Forced Tip Sharing, 29 C.F.R. § 531.35; (6) Failure to Pay Minimum
   9    Wage in Violation of Cal. Lab. Code §§ 1194 &1197; (7) Failure to Pay
  10    Overtime Wages in Violation of Cal. Lab. Code §§ 510, 1194 & 1197; (8) Failure
  11    to Furnish Accurate Wage Statements, Cal. Lab. Code § 226; (9) Waiting Time
  12    Penalties, Cal. Lab. Code §§ 201-203; (10) Failure to Indemnify Business
  13    Expenses in Violation of Cal. Lab. Code § 2802; (11) Compelled Patronization of
  14    Employer and/or Other Persons in Violation of Cal. Lab. Code § 450; and (12)
  15    Unfair Competition in Violation of Cal. Bus. & Prof. Code §§ 17200, et seq.
  16    Silva Dkt. 1.
  17           On June 30, 2021, the Court consolidated the Harris and Silva matters.
  18    Dkt. 84.
  19           On September 7, 2021, a Consolidated Complaint was filed. Dkt. 98.
  20           As this Court was aware, the Parties actively engaged in litigation, there
  21    was a motion for notice pursuant to 29 U.S.C. § 216(b), petitions to compel
  22    arbitration, a tentative settlement that fell apart, and litigation for over two years.
  23    After attending a full day mediation with Natasha Chesler on November 30,
  24    2021, the Parties reached the resolution as described in the Agreements for which
  25    they are now seeking approval.3 See Declaration of John P. Kristensen
  26
  27    3
            On July 26, 2021, Mantikas settled her claims against Defendants. On October
  28        12, 2021, Crane settled her claims against Defendants. Both the Mantikas and
            Crane settlements are included as part of this Motion.
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   1    (“Kristensen Decl.”) ¶ 26, Exs. 1-15.
   2             Pursuant to the Agreements, Plaintiffs will receive $587,340.81, with the
   3    remaining $552,659.19 being allocated to Plaintiffs’ attorneys’ fees ($513,000)
   4    and costs ($39,659.19). See Kristensen Decl. ¶¶ 26, 29, Exs. 1-19. This amount
   5    reflects a favorable outcome for Plaintiffs, far in excess of what would be
   6    expected in a similar Fed. R. Civ. P. 23 class action settlement. Furthermore, the
   7    fee request is less than Plaintiffs’ counsel’s lodestar, virtually identical to other
   8    approved Fair Labor Standards Act (“FLSA”) settlements, and therefore
   9    reasonable.
  10             As of the time of drafting this Motion, Defendants have not returned their
  11    signature pages for the Settlement Agreements for Anspach, Duran, Hammond,
  12    Hoyer, Johnson, Nuckols, Ruiz, Suka, Velazquez, Silva, Bellamy, and Lloyd
  13    detailing the allociations to each. At the November 30, 2021 mediation, however,
  14    Defendants signed a Settlement Agreement noting the global terms. The
  15    November 30, 2021 is enforceable. Defendants cannot be permitted to back out
  16    of yet another settlement. If the Court is not inclined to grant settlement approval.
  17    Plaintiffs respectfully request that their Motion for Partial Summary Judgment be
  18    heard as soon as practicable and this matter be reset for trial.
  19    II.      FACTUAL BACKGROUND
  20             Plaintiffs were exotic dancers at Showgirls within the three years prior to
  21    the filing of the lawsuit or the date they opted in as Plaintiffs. Plaintiffs alleged
  22    they were misclassified as independent contractors and were not paid wages.
  23    III.     LEGAL GROUNDS FOR PLAINTIFFS’ CLAIMS
  24             Plaintiffs differentiated the types of FLSA and California Labor Code
  25    claims for the dancers. The first two types of claims were for failure to pay
  26    minimum wage or overtime.
  27             For the third type of claim, Plaintiffs contended that Defendants required
  28    them to pay unlawful “house fees” to work at Showgirls, as well as required them
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   1    to “tip-out” to Showgirls’ employees. Plaintiffs argued that this forced
   2    subsidization of Defendants’ club constituted unlawful “kickbacks” in violation
   3    of 29 U.S.C. § 203.
   4             Lastly, Plaintiffs also had claims for two types of tipping violations. First,
   5    the dancers were “encouraged” to tip the club’s employees. The forced tipping,
   6    Plaintiffs contend, is also a violation of 29 C.F.R. § 531.35, as it results in the
   7    dancers subsidizing the clubs’ payment of wages to other employees. The second
   8    form of claimed damages for tips was the price of individual private dances to
   9    customers which was retained by Defendants rather than being paid to Plaintiffs.
  10    Defendants maintain these fees were fees charged by them and belonging to
  11    them. Plaintiffs allege these were tips that belonged to them and were improperly
  12    taken.
  13             Thus, when Plaintiffs resolved this matter, there were five levels of
  14    claimed FLSA damages for each dancer that went into the valuation of the
  15    claims, along with California Labor Code violations. There was also substantial
  16    debate between the Parties regarding the number of shifts and dates each dancer
  17    worked.
  18    IV.      THE SETTLEMENT AGREEMENTS
  19             Pursuant to the Agreements, Defendants have agreed to pay Plaintiffs a
  20    gross settlement of $1,140,000.
  21                             PLAINTIFF           GROSS
  22                                              SETTLEMENT
                                                    AMOUNT
  23                            Anspach              $125,000
  24                            Bellamy               $65,000
  25                            Crane                 $25,000
  26                            Duran                $125,000
  27                            Hammond               $75,000
  28
                                Hoyer                 $80,000
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   1                           Johnson              $125,000
   2                           Lloyd                $75,000
   3                           Mantikas             $15,000
   4                           Nuckols              $125,000
   5                           Ruiz                 $90,000
   6                           Silva                $90,000
   7                           Suka                 $35,000
   8                           Velazquez            $90,000
   9                           TOTAL             $1,140,000.00
  10
  11    See Kristensen Decl. ¶ 26, Exs. 1-15.
  12             In addition, as part of the settlement, Defendants agreed to pay $50,000 for
  13    plaintiff Katrina Harris’ attorneys’ fees and costs to satisfy the Judgment of
  14    $25,000, plus Ms. Harris’ costs and attorneys’ fees.
  15    ///
  16             Plaintiffs’ counsel litigated this case extensively. The settlement amounts
  17    are significant amounts and take into account the amount of time litigated and the
  18    ability to reach resolution and collect, which is relevant in this current unknown
  19    economic environment. In exchange for the consideration described above,
  20    Plaintiffs have agreed to dismiss their causes of action for alleged violations of
  21    the FLSA and any state wage and hour claims stemming from Plaintiffs’
  22    employment with the Defendants at issue in the Complaint. See Kristensen Decl.
  23    ¶ 26; Exs. 1-15.
  24    V.       STANDARD FOR APPROVAL OF FLSA SETTLEMENTS
  25             “When employees bring a private action for back wages under the [FLSA],
  26    and present to the district court a proposed settlement, the district court may enter
  27    a stipulated judgment after scrutinizing the settlement for fairness.” Lynn’s Food
  28    Stores, Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir. 1982). Because
              PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR APPROVAL OF FLSA SETTLEMENT
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   1    “[t]he Ninth Circuit has not established the criteria that a district court must
   2    consider in determining whether an FLSA settlement warrants approval,” district
   3    courts in this Circuit widely follow the Eleventh Circuit’s Lynn’s Food Stores
   4    standard. Rodriguez v. Nationwide Mutual Ins.Co., et al., No. 8:16-cv-02217-
   5    JLS-DFM, 2017 WL 7803796, at *1 (C.D. Cal. Nov. 16, 2017); see also Otey v.
   6    CrowdFlower, Inc., No. 12-cv-05524, 2014 WL 1477630, at *3 & n.5 (N.D. Cal.
   7    Apr. 15, 2014) (collecting cases applying Lynn's Food Stores).
   8          Under Lynn’s Food Stores, a district court may approve an FLSA
   9    settlement only if it reflects “a fair and reasonable resolution of a bona fide
  10    dispute over FLSA provisions.” Otey v. CrowdFlower, Inc., No. 12-cv-05524,
  11    2015 WL 6091741, at *4 (N.D. Cal. Oct. 16, 2015) (quoting Lynn’s Food Stores,
  12    679 F.2d at 1355). “If a settlement in an employee FLSA suit does reflect a
  13    reasonable compromise over issues, such as FLSA coverage or computation of
  14    back wages, that are actually in dispute; we allow the district court to approve the
  15    settlement in order to promote the policy of encouraging settlement of litigation.”
  16    Lynn’s Food Stores, 679 F.2d at 1354. Accordingly, FLSA settlements require
  17    the supervision of the Secretary of Labor or the district court. See Lynn’s Food
  18    Stores, 679 F.2d at 1352-53. The FLSA also requires that a settlement agreement
  19    include an award of reasonable fees. See 29 U.S.C. § 216(b) (“The court in such
  20    action shall, in addition to any judgment awarded to the plaintiff or plaintiffs,
  21    allow a reasonable attorney’s fee to be paid by the defendant, and the costs of the
  22    action”).
  23          Under Lynn’s Food Stores, the following factors are considered: (1) the
  24    existence of fraud or collusion behind the settlement; (2) the complexity, risk,
  25    expense, and likely duration of the litigation; (3) the stage of the proceedings and
  26    the amount of discovery completed; (4) the strength of the Plaintiffs’ case and the
  27    probability of Plaintiffs’ success on the merits; (5) the range of possible recovery;
  28    and (6) the opinions of the counsel. See King v. My Online Neighborhood, No.
           PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR APPROVAL OF FLSA SETTLEMENT
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   1    6:06-cv-435-ORL-22JGG, 2007 WL 737575 (M.D. Fla. March 7, 2007) (citing
   2    Leverso v. South Trust Bank of Ala., Nat’l. Ass’n., 18 F.3d 1527, 1531 n.6 (11th
   3    Cir. 1994)).
   4          When considering these factors, the Court should keep in mind the
   5    “‘strong presumption’ in favor of finding a settlement fair.” King, 2007 WL
   6    737575, at *3 (quoting Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977)).
   7    Moreover, “a settlement is a compromise, a yielding of the highest hopes in
   8    exchange for certainty and resolution.” Id. (quoting In re Gen. Motors Corp.
   9    Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 806 (3rd Cir. 1995)
  10    (other internal citations omitted)). As discussed below, those factors strongly
  11    favor approval of these settlements.
  12    VI.   APPROVAL OF THE FLSA SETTLEMENTS
  13          A.       Bona Fide Dispute
  14          “A bona fide dispute exists when there are legitimate questions about the
  15    existence and extent of the defendant’s FLSA liability.” Jennings v. Open Door
  16    Mktg., LLC, No. 15-CV-4080-KAW, 2018 WL 4773057, at *4 (N.D. Cal. Oct. 3,
  17    2018) (quoting Gonzalez v. Fallanghina, LLC, No. 16-cv-01832-MEJ, 2017 WL
  18    1374582, at *2 (N.D. Cal. Apr. 17, 2017)). “That is, there must be some doubt
  19    whether the plaintiffs will be able to succeed on the merits of their FLSA
  20    claims.” Madrid v. teleNetwork Partners, LTD., No. 5:17-cv-04519-BLF, 2019
  21    WL 3302812, at *3 (N.D. Cal. July 23, 2019).
  22          The Court should approve the Agreements because they reflect a
  23    reasonable compromise of bona fide disputes regarding Defendants’ alleged
  24    FLSA liability. There was no collusion in reaching the Agreements. The Parties
  25    were adequately represented by competent counsel experienced in litigating cases
  26    under the FLSA, and the Agreements reached were the result of good-faith, arms’
  27    length negotiation between the Parties. Mr. Kristensen has tried multiple
  28    employment cases and obtained substantial settlements against employers,
           PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR APPROVAL OF FLSA SETTLEMENT
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   1    including against another exotic dance club in excess of a million dollars. Mr.
   2    Kristensen has been appointed class counsel, including three times since 2019.
   3    Mr. Kristensen has also settled in excess of fifty individual FLSA claims against
   4    strip clubs in the past two years, including during the COVID-19 pandemic. See
   5    Kristensen Decl. ¶¶ 2-25, 30-46, Exs. 20-36.
   6           The Parties have strenuously different opinions about the classification of
   7    the dancers as employees or independent contractors and whether the dance fee
   8    charged by and collected by the Defendants belonged to the Defendants or was a
   9    tip belonging to Plaintiffs. The Parties engaged in discovery with the formal and
  10    informal exchange of documents, and a Motion for Notice pursuant to 29 U.S.C §
  11    216(b). The Parties’ counsel were cognizant and aware of each other’s arguments
  12    and positions pertaining to employee classification. The Parties participated in
  13    settlement negotiations in good faith. The Parties defended their positions about
  14    the disputed aspects of the case and a resolution was ultimately reached.
  15           Because the Parties disputed these aspects of the case, the purpose of the
  16    bona fide dispute requirement has been satisfied here. See Saleh v. Valbin Corp.,
  17    No. 17-CV-0593-LHK, 2018 WL 6002320, at *2 (N.D. Cal. Nov. 15, 2018)
  18    (citing Lynn Food Stores, 679 F.2d at 1353 n.8) (“The purpose of this analysis is
  19    to ensure that an employee does not waive claims for wages, overtime
  20    compensation, or liquidated damages when no actual dispute exists between the
  21    parties.”).
  22           B.     Fair and Reasonable Resolution
  23           To determine whether the settlement is fair and reasonable, the Court looks
  24    to the “totality of the circumstances” and the “purposes of [the] FLSA.” Selk, 159
  25    F.Supp.3d at 1173. In making this determination, courts consider the following
  26    factors: (1) the Plaintiffs’ range of possible recovery; (2) the stage of proceedings
  27    and amount of discovery completed; (3) the seriousness of the litigation risks
  28    faced by the parties; (4) the scope of any release provision in the settlement
           PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR APPROVAL OF FLSA SETTLEMENT
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   1    agreement; (5) the experience and views of counsel and the opinion of
   2    participating plaintiffs; and (6) the possibility of fraud or collusion. See, e.g., id.;
   3    Jennings, 2018 WL 4773057, at *4. Plaintiffs will address each of these factors
   4    accordingly.
   5                   1.     Plaintiffs’ Possible Range of Recovery
   6             Regarding Plaintiffs' range of possible recovery, courts in the Ninth Circuit
   7    have found FLSA cases settling for approximately 25%–35% of the total possible
   8    recovery to be reasonable. See, e.g., Jennings, 2018 WL 4773057, at *5–*6; Selk,
   9    159 F.Supp.3d at 1175; Glass v. UBS Financial Services, Inc., No. 06-CV-4068-
  10    MMC, 2007 WL 221862, at *4 (N.D. Cal. Jan. 26, 2007), aff'd, 331 F. App'x 452
  11    (9th Cir. 2009); Greer v. Pac. Gas & Elec. Co., No. 15-CV-1066-EPG, 2018 WL
  12    2059802, at *8 (E.D. Cal. May 3, 2018); Johnson v. MetLife, Inc., No. SACV 13-
  13    128-JLS, 2014 WL 12773568, at *9 (C.D. Cal. Nov. 6, 2014).
  14    Approximately, each dancer at Showgirls was owed the following per shift:
  15                           Minimum Wage:           $116.00
  16                           House/Stage Fees:        $30.00
  17                           DJ/Bartender Tips:       $60.00
  18                           Dance Tips:              $15.00
  19                           VIP Tips:                $60.00
  20                           Total Loss / Shift:     $281.00
  21             Anspach worked at Showgirls from June 2005 to January 2020. Anspach
  22    worked for the full 3 years, or approximately 156 weeks, five nights a week. This
  23    is 780 shifts. Her estimated damages are $219,180.00.
  24             Crane worked at Showgirls from 2016 to 2019, approximately 131 weeks
  25    and around 2 shifts per week. This is 262 shifts. Her damages are $73,622.
  26             Duran worked from February 2017 to December 2018, or approximately 99
  27    weeks, five nights a week. This is 495 shifts. Her damages are $139,095.00.
  28    ///
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   1             Hammond worked from June 2018 to February 2020, or approximately 91
   2    weeks, five nights a week. This is 455 shifts. Her damages are $27,855.00.
   3             Hoyer worked from September 2018 to March 2020, or approximately 82
   4    weeks, five nights a week. This is 410 shifts. Her damages are $115,210.00.
   5             Johnson worked from 2016 to March 2020, or approximately 221 weeks,
   6    five nights a week. This is 1,105 shifts. Her damages are $310,505.00.
   7             Mantikas worked from 2017 to March 2020, or approximately 169weeks,
   8    five nights a week. This is 845 shifts. Her damages are $237,445.
   9             Nuckols worked from January 2017 to January 2019, or approximately 108
  10    weeks, five nights a week. This is 540 shifts. Her damages are $151,740.00.
  11             Ruiz worked from April 2018 to March 2020, or approximately 104 weeks,
  12    five nights a week. This is 520 shifts. Her damages are $149,120.00.
  13             Suka worked from 2017 to July 2019, or approximately 134 weeks, five
  14    nights a week. This is 670 shifts. Her damages are $188,270.00.
  15             Velazquez worked from April 2018 to March 2019, or approximately 52
  16    weeks, five nights a week. This is 260 shifts. Her damages are $73,060.00.
  17             Silva worked at Showgirls from May 2016 until November 2019. Her
  18    claims start in March 2017 under the UCL. Ms. Silva’s claim is for 32 months.
  19    She will testify she worked approximately 14 nights a month. Her claim is for
  20    448 shifts. Her damages total $125,888.
  21             Bellamy worked at Showgirls from April 2018 to July 2019. Her claim is
  22    for 14 months, with seven after the conversion. Her damages are estimated at
  23    $50,000.00.
  24             Lloyd worked at Showgirls from 2016 until March 2020. Her claims start in
  25    March 2017 under the UCL. Ms. Lloyd’s claim is for 36 months. She will also
  26    testify she worked approximately 14 nights a month. Her claim is for 504 shifts.
  27    Her damages total $141,624.
  28    ///
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   1          The Parties disputed the number of shifts and the hours worked by
   2    Plaintiffs. That played a role in evaluating the value of each claim.
   3          The FLSA structure was intentionally designed by Congress as a remedial
   4    measure to incentivize and encourage private attorneys to pursue lower damage
   5    wage and hour claims with clear liability. “[T]he FLSA is a uniquely protective
   6    statute,” Cheeks v. Freeport Pancake House, Inc., 796 F.3d 199, 207 (2d Cir.
   7    2015), cert. denied, 136 S. Ct. 824 (2016), and its purposes “require that it be
   8    applied even to those who would decline its protections,” Tony & Susan Alamo
   9    Found. v. Sec'y of Labor, 471 U.S. 290, 302 (1985). By awarding reasonable fees
  10    and costs to prevailing FLSA litigants, “Congress intended to encourage private
  11    citizen enforcement of the [FLSA].” Soler v. G & U, Inc., 658 F.Supp. 1093,
  12    1097 (S.D.N.Y. 1987). Indeed, “Plaintiffs’ counsel’s role as private attorneys
  13    general is key to the effective enforcement of these statutes.” Trinidad v. Pret a
  14    Manger (USA) Ltd., No. 12-cv-6094 (PAE), 2014 WL 4670870, at *12 (S.D.N.Y.
  15    Sept. 19, 2014).
  16          The Agreements reflect a substantial award to Plaintiffs. These resolutions
  17    are setting a benchmark for other settlements in FLSA dancer cases. Counsel
  18    spent considerable time litigating the matter which is evidenced in their lodestar.
  19    Plaintiffs’ counsel’s skill, tenacity and the potential of a large attorneys’ fees
  20    award contributed to the overall settlement. This settlement is very favorable to
  21    Plaintiffs, and in light of the work performed in the lawsuit and the juncture of
  22    the settlement in the litigation, the settlement amounts are reasonable.
  23                 2.     The Stage of Proceedings and Amount of Discovery
  24                        Completed
  25          The Court must next assess “the stage of proceedings and the amount of
  26    discovery completed to ensure the parties have an adequate appreciation of the
  27    merits of the case before reaching a settlement.” Jennings, 2018 WL 4773057, at
  28    *5 (quoting Slezak v. City of Palo Alto, No. 16-CV-03224-LHK, 2017 WL
           PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR APPROVAL OF FLSA SETTLEMENT
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   1    2688224, at *4 (N.D. Cal. June 22, 2017)). If the parties have “sufficient
   2    information to make an informed decision about [the] settlement, this factor
   3    weighs in favor of approval.” Id. (quoting Linney v. Cellular Alaska P’ship, 151
   4    F.3d 1234, 1239 (9th Cir. 1998)).
   5          The Parties had engaged in written discovery by the time mediation took
   6    place. As the Court is aware, the Parties had fully briefed several motions before
   7    the Court, including Plaintiff’s motion for issuance of notice pursuant to section
   8    216(b) of the FLSA. The settlement is the result of extensive pre-suit
   9    investigation, review of formal and informal discovery, and substantial arm’s-
  10    length negotiation between counsel. The Parties had a good understanding of the
  11    merits of their positions by the time of the mediation, which led to the settlement
  12    reached.
  13                 3.     Seriousness of Litigation Risks Faced by the Parties
  14          Courts will approve an FLSA settlement when there is a significant risk
  15    that litigation could result in a lower recovery for the class or no recovery at all.
  16    See Jennings, 2018 WL 4773057, at *5. Several facts in this case potentially
  17    jeopardize Plaintiffs’ recovery should this case proceed to trial (or arbitration),
  18    including Defendants’ written employment policies and testimony from
  19    supervisors contradicting Plaintiffs’ claims, and Plaintiffs' potential inability to
  20    prove that Defendants’ alleged violations were willful or ability to corroborate
  21    the number of hours and shifts worked. Accordingly, further litigation might
  22    result in Plaintiffs recovering less than the Settlement or perhaps nothing at all,
  23    so this factor weighs in favor of approving the FLSA settlement.
  24                 4.     Scope of Any Release Provision in the Agreements
  25          Courts in this Circuit have rejected blanket releases of all potential claims
  26    against the employer for all unlawful acts whatsoever. See, e.g., McKeen-Chaplin
  27    v. Franklin Am. Mortg. Co., No. 10-CV-5243-SBA, 2012 WL 6629608, at *5
  28    (N.D. Cal. Dec. 19, 2012) (ruling that the plaintiffs failed to demonstrate that it
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   1    would be fair and reasonable for a court to enforce a general release provision of
   2    all claims related to their employment in an FLSA settlement); Garcia v. Jambox,
   3    Inc., No. 14-CV-3504-MHD, 2015 WL 2359502, *4 (S.D.N.Y. Apr. 27, 2015)
   4    (disapproving of release of all claims known and unknown against defendants,
   5    including those that seemingly had “no relationship whatsoever” to wage and
   6    hour issues); Ambrosino v. Home Depot. U.S.A., Inc., No. 11-CV-1319-MDD,
   7    2014 WL 1671489, at *2-3 (S.D. Cal. Apr. 28, 2014) (same). However, when a
   8    district court in the Ninth Circuit approves an FLSA collective action settlement,
   9    it may approve a release of any claims sufficiently related to the current
  10    litigation. See Selk, 159 F.Supp.3d at 1178–79; see also Reyn’s Pasta Bella, LLC
  11    v. Visa USA, Inc., 442 F.3d 741, 748 (9th Cir. 2006) (citing Class Plaintiffs v.
  12    City of Seattle, 955 F.2d 1268, 1287–89 (9th Cir. 1992)).
  13          The Agreements here are similar to others approved in this Distict. See
  14    Johnson v. The Strip Joint, No.8:19-cv-01623-JVS-KES, Dkt. 29 (Jan. 31, 2020);
  15    see also Woodmore v. Solitaire Holdings, LLC dba Knockouts, No. 2:19-cv-
  16    09017-RGK-AGR, Dkt. 17 (Feb. 9, 2020). As such, the Agreements here do not
  17    weigh against approval.
  18                 5.    Experience and Views of Counsel and Opinion of
  19                       Participating Plaintiffs
  20          “In determining whether a settlement is fair and reasonable, ‘[t]he opinions
  21    of counsel should be given considerable weight both because of counsel's
  22    familiarity with th[e] litigation and previous experience with cases.’” Slezak,
  23    2017 WL 2688224, at *5 (quoting Larsen v. Trader Joe's Co., No. 11-cv-05188-
  24    WHO, 2014 WL 3404531, *5 (N.D. Cal. Jul. 11, 2014)).
  25          Plaintiffs’ counsel and Defendants’ counsel have substantial experience
  26    litigating wage and hour cases and handling complex and class actions. Counsel
  27    for the Parties knew the strengths and weaknesses of the opposing side’s case as
  28    can be evidenced by the fully briefed motions before the Court. With the help of
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   1    an experienced mediator, well-versed in FLSA cases, the Parties were able to
   2    reach a Settlement. Plaintiffs’ counsel’s substantial experience and judgment
   3    resulted in this extraordinary Settlement. Additionally, all Plaintiffs have been
   4    made aware of the terms of the settlement and have signed the Agreements.
   5    Accordingly, this factor weighs in favor of approval.
   6                   6.     Possibility of Fraud or Collusion
   7             When considering this factor, courts may look for indications that the
   8    plaintiffs’ counsel “allowed the pursuit of their own self-interests and that of
   9    certain class members to infect the negotiation” or for “evidence of more ‘subtle
  10    signs’ of collusion, such as ‘when counsel receive a disproportionate distribution
  11    of the settlement, or when the class receives no monetary distribution but class
  12    counsel are amply rewarded.’” Selk, 159 F. Supp. 3d at 1180 (quoting In re
  13    Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 947 (9th Cir. 2011)).
  14             The Settlement was the result of extensive pre-suit investigation, review of
  15    formal and informal discovery, and substantial arm's-length negotiations between
  16    counsel, aided by well-known and experienced mediator. While Plaintiffs’
  17    counsel is receiving payment of reimbursable costs and attorneys’ fees from the
  18    Settlement, there is nothing out of the ordinary in this arrangement. See Slezak,
  19    2017 WL 2688224, at *5 (“[C]ounsel is receiving a substantial fee. However, the
  20    class is also receiving a significant monetary benefit.”); Selk, 159 F. Supp. 3d at
  21    1179-80 (“[T]he amount of the individual settlement payments to be received by
  22    opt-in members is based on an analysis of employee time records and an estimate
  23    of the degree of under-compensation during the relevant period. This approach
  24    guards against the arbitrariness that might suggest collusion.” (citation omitted)).
  25    This factor therefore weighs in favor of approval.
  26    ///
  27    ///
  28    ///
              PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR APPROVAL OF FLSA SETTLEMENT
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   1    VII. THE ATTORNEYS’ FEES AND COSTS REQUEST IS REASONABLE
   2          A.     FLSA Collective Action Settlements Allow for a Greater
   3                 Recovery of Attorneys’ Fees Than Rule 23 Class Action
   4                 Settlements
   5          Plaintiffs’ request for attorneys’ fees is reasonable and in line with many
   6    other district court orders granting similar fees in FLSA settlements. FLSA
   7    settlements are distinct from Rule 23 class action settlements and, as such, allow
   8    for a greater recovery of fees. Three California district judges (J. Walter, R.
   9    Klausner, and J. Selna) have granted similar requests for attorneys’ fees for
  10    Plaintiffs’ counsel within the last 2 years. See Kristensen Decl. ¶¶ 30-35; Exs. 20-
  11    25.
  12          In Rule 23 class actions, attorneys more often than not seek fees in excess
  13    of their lodestar by requesting that the court apply a positive modifier. See In re
  14    Tyco Int'l, Ltd. Multidistrict Litig., 535 F.Supp.2d 249, 271 (D.N.H. 2007)
  15    (approving Rule 23 class action settlement with lodestar multiplied of 2.697); see
  16    also In re TJX Companies Retail Sec. Breach Litig., 584 F.Supp.2d 395, 408
  17    (D.Mass. 2008) (applying a lodestar multiplier of 1.97); In re Visa
  18    Check/MasterMoney Antitrust Litig., 297 F.Supp.2d 503, 524 (E.D.N.Y.
  19    2003), aff'd sub nom. Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96 (2d
  20    Cir. 2005) (applying lodestar multiplier of 3.5). By contrast, here, Plaintiffs’
  21    counsel merely seeks a negative or inverse multiplier, resulting in an award less
  22    than their lodestar. See Kristensen Decl. ¶ 29; Exs. 16 & 18.
  23          FLSA settlements are subject to a different standard and allow for a greater
  24    recovery of attorneys’ fees than Rule 23 class action settlements in order to
  25    encourage attorneys to take on these sorts of wage-and-hour cases. See Tallman
  26    v. CPS Sec. (USA), Inc., 23 F. Supp. 3d 1249, 1267 (D. Nev. 2014), aff'd, 655 F.
  27    App'x 602 (9th Cir. 2016) (“there is no requirement that fee awards be
  28    proportionate to the monetary recovery, unduly restricting fee awards would
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   1    discourage attorneys from taking FLSA cases, and a successful FLSA claim
   2    vindicates statutory rights, even if it does not result in a substantial
   3    monetary recovery.”); Fisher v. SD Prot. Inc., 948 F.3d 593, 603 (2d Cir. 2020)
   4    (holding that a proportionality rule limiting attorney’s fees to 33% of total
   5    settlement would also be inconsistent with the remedial goals of the FLSA); see
   6    also Earls v. Forga Contracting, Inc., No. 1:19-CV-00190-MR-WCM, 2020 WL
   7    3063921, at *4 (W.D.N.C. June 9, 2020) (noting that “courts have rejected the
   8    notion that [FLSA] fee awards should be proportionately tied to a Plaintiffs’
   9    recovery.” (quotation omitted)); Kazanjian v. MSM Enterprises, Inc., No. CIV.
  10    93-227-P-C, 1995 WL 140153, at *3 (D.Me. Mar. 15, 1995) (“in an FLSA fee
  11    determination, a court should not place undue emphasis on the amount recovered
  12    by a plaintiff since the award of fees ‘encourages the vindication of
  13    congressionally identified policies and rights,’ even if the recovery is only
  14    nominal.”).
  15          Indeed, the public policy encouraging attorneys to take on FLSA cases
  16    often results in situations where the attorney’s fees surpass the Plaintiffs’ award.
  17    See Bonnette v. California Health & Welfare, 704 F.2d 1465, 1473 (9th Cir.1983)
  18    (affirming $100,000 in attorney fees on a judgment of $18,455 in damages); SKF
  19    USA Inc. v. Bjerkness, Nos. 08 C 4709, 09 C 2232, 2011 WL 4501395, at *3
  20    (N.D. Ill. 2011) (refusing to reduce a $1.3 million dollar award of attorneys' fees
  21    when the damages were only $81,068 because Congress predetermined the claim
  22    was worth bringing even though there was great disparity between the amount
  23    recovered and the attorneys' fees requested); also Fegley v. Higgins, 19 F.3d
  24    1126, 1134 (6th Cir. 1994) ((affirming attorney fees of $40,000 on a judgment of
  25    $7,680 for overtime compensation); Lucio–Cantu v. Vela, 239 Fed. App’x. 866
  26    (5th Cir.2007) (finding no abuse of discretion in award of $51,750 in attorney
  27    fees on a recovery of $4,679). In this case however, Plaintiffs’ attorneys merely
  28    seek an amount in fees totaling 45% of the total settlement, which is less than
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   1    their lodestar. See Kristensen Decl. ¶¶ 26, 29; Exs. 1-16, 18.
   2           Therefore, the Court here should not limit itself in awarding attorney’s fees
   3    as if this case were a Rule 23 class action. It is not a class action, but instead a
   4    collective action with public policy considerations that afford a more generous
   5    calculation of fees.
   6           B.     Plaintiffs’ Attorneys’ Fees Totaling 45% of the Settlement Is a
   7                  Reduction of the Lodestar and Would Therefore Be a
   8                  Reasonable Award
   9           It is well settled that a reasonable amount of fees is determined pursuant to
  10    the “lodestar approach,” which involves calculating “the number of hours
  11    reasonably expended on the litigation multiplied by a reasonable hourly rate.”
  12    Gay Officers Action League v. Puerto Rico, 247 F.3d 288, 295 (1st Cir.2001)
  13    (quoting Hensley v. Eckerhart, 461 U.S. 424, 433, 103 S.Ct. 1933, 76 L.Ed.2d 40
  14    (1983)); Gary v. Carbon Cycle Arizona LLC, 398 F. Supp. 3d 468, 485 (D. Ariz.
  15    2019) (“[t]o determine a reasonable attorneys' fee under FLSA, the Court uses the
  16    lodestar method.”); Mills v. Cabral, No. CIV.A. 06-10133-RGS, 2010 WL
  17    2553889, at *1 (D.Mass. June 18, 2010) (“[i]n determining an appropriate award
  18    of fees and costs under the FLSA, the court employs the lodestar approach.”);
  19    Marrotta v. Suffolk Cty., 726 F.Supp.2d 1, 25 (D.Mass. 2010) (approving FLSA
  20    attorneys’ fees at lodestar amount).
  21           In this case, Plaintiffs’ counsel has a lodestar of $514,791.35. See
  22    Kristensen Decl. ¶ 29; Exs. 16 & 18. However, Plaintiffs’ counsel is merely
  23    seeking $513,000 in fees, which is less than their lodestar and consists of 45% of
  24    the total settlement. See id. In other words, Plaintiffs’ counsel is seeking less than
  25    what they would otherwise be entitled to based on the time they have spent
  26    litigating this matter. See id.
  27           The fees sought in this matter are commensurate with the time and effort
  28    exerted to achieve a favorable settlement and the overall skill of Plaintiffs’
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   1    attorneys. Plaintiffs’ counsel is well versed in both FLSA collective actions and
   2    Rule 23 class actions and have achieved numerous successful outcomes.
   3    Furthermore, Plaintiffs’ attorneys’ hourly rates are reasonable and are similar to
   4    those approved by other district courts throughout the country.
   5          In Macklin v. Biscayne Holding Corp et al, 1:19-cv-00561-WES-PAS
   6    (D.R.I. 2019), Plaintiffs’ counsel sought approval of a similar FLSA settlement
   7    involving the wage and hour claims of exotic dancers. See Kristensen Decl. at ¶¶
   8    42-44; Exs. 32-34. In the Macklin case, Plaintiffs’ counsel sought a reduction of
   9    their lodestar and a fee award consisting of 45% of the settlement. See id. There,
  10    Judge Smith found both the settlement and the attorney’s fees and costs to be
  11    reasonable. See id.
  12          Also, while the lodestar amount is presumed to be a reasonable calculation
  13    of attorneys’ fees, it is within the Court’s discretion to adjust the lodestar figure.
  14    See Marrotta, 726 F.Supp.2d at 25. Within the past two years alone, three
  15    separate judges in California have granted Plaintiffs’ counsel’s request to apply a
  16    negative modifier to the lodestar in order to achieve a fee award comprising of
  17    45% of the total FLSA settlement. See Kristensen Decl. at ¶¶ 30-35, Exs. 20-25.
  18    District courts in Florida and Wisconsin have followed suit and also granted
  19    Plaintiffs’ counsel attorney’s fees totaling 45% of the settlement. See Kristensen
  20    Decl. at ¶¶ 36-39, Exs. 26-29.
  21          Ultimately, the FLSA settlements in this case represent a far more
  22    favorable outcome for Plaintiffs than if they pursued their claims through a Rule
  23    23 class action. By virtue of their sheer size, class actions often lead to a smaller
  24    award for each individual plaintiff. In Hart v. RCI Hosp. Holdings, Inc., No. 09
  25    CIV. 3043 PAE, 2015 WL 5577713 (S.D.N.Y. Sept. 22, 2015), a similar exotic-
  26    dancer wage-and-hour class case settled for roughly $15 million. See Hart, 2015
  27    WL 5577713 at *5. However, the Rule 23 class comprised of 2,208 members and
  28    each only received on average $4,254.98. See id. Similarly, in Ortega v. The
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   1    Spearmint Rhino Companies Worldwide Inc., et al., 5:17-cv-00206-JGB-KK
   2    (C.D. Cal. July 5, 2021), the district court awarded a net settlement amount of
   3    $2,600,000 to an exotic dancer class action. See Kristensen Decl. at ¶ 40, Ex. 30.
   4    However, the class consisted of 650 individuals and the awards averaged out to
   5    only $4,000 per class member. See id; see also Roe v. Jose Torres L.D. Latin
   6    Club Bar, Inc., 2020 WL 2494569, at *3 (N.D. Cal. May 14, 2020) (granting
   7    preliminary approval of Rule 23 settlement on behalf of exotic dancers that
   8    would pay “$836 per class member”); Doe 1-2 v. Deja Vu Servs., Inc., 2017 WL
   9    2629101, at *5 (E.D. Mich. June 19, 2017), aff’d sub nom. Does 1-2 v. Deja Vu
  10    Servs., Inc., 925 F.3d 886 (6th Cir. 2019) (approving Rule 23 settlement on
  11    behalf of exotic dancers, many of whom worked in California, where “the
  12    average payment from the cash pool will be around $200”); Kristensen Decl. at ¶
  13    41, Ex. 31, Byrne v. Santa Barbara Hospitality Services, Inc., C.A. No. 17-
  14    00527, Dkt. 178 (C.D. Cal. Dec. 14, 2018) (approving settlement proposing to
  15    pay 566 claiming class members between $350,884 to $598,453, or average
  16    shares of between $620 and $1,057 per participating class member).
  17    VIII. CONCLUSION
  18          For the foregoing reasons, Plaintiffs respectfully request that the Court
  19    grant this Motion in its entirety.
  20
  21    Dated: February 14, 2022         Respectfully submitted,
  22
                                   By: /s/ John P. Kristensen
  23                                   John P. Kristensen (SBN 224132)
  24                                   kristensen@cz.law
                                       Jesenia A. Martinez (SBN 316969)
  25                                   jmartinez@cz.law
  26                                   CARPENTER & ZUCKERMAN
  27                                   Attorneys for Plaintiffs

  28
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                             CERTIFICATE OF SERVICE

        I certify that on Monday, February 14, 2022 a true and correct copy of the
   attached PLAINTIFFS’ NOTICE OF MOTION AND MOTION FOR
   APPROVAL OF FLSA SETTLEMENT and accompanying documents were
   served via CM/ECF upon all participants of record, including the following parties
   listed below, pursuant to Fed. R. Civ. P. 5:
    Devon M. Lyon
    LYON LEGAL, P.C.
    2698 Junipero Avenue, Suite 201A
    Signal Hill, California 90755
    Email: d.lyon@lyon-legal.com

    Counsel for Defendants




                                                        /s/ John P. Kristensen
                                                          John P. Kristensen
